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                                                            October 25, 2021
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 3                                                            JS-6
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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11 SHAWN ADLER and GAVIN                     )   Case No. 2:21-cv-02416-SB-JPR
   MCDONOUGH,                                )
12                                           )   ORDER GRANTING STIPULATION
               Plaintiffs,                   )   TO DISMISS CASE WITH
13                                           )   PREJUDICE
       v.                                    )
14                                           )
   COMMUNITY.COM, INC.                       )
15                                           )
               Defendant.                    )
16                                           )
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 1
             The Court hereby orders that the joint stipulation of Plaintiffs Shawn Adler
 2
     and Gavin McDonough and Defendant Community.com, Inc. is granted. Pursuant
 3
     to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs’ First
 4
     Amended Complaint filed in the above-captioned civil action is dismissed with
 5
     prejudice. Each party shall bear its own fees and costs.
 6
     JS-6.
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             IT IS SO ORDERED.
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11
     DATED: October 25, 2021
12                                              The Honorable Stanley Blumenfeld, Jr.
                                                     United States District Judge
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